Zoho Sign Document ID: BAXMM6XIXCUGT1AUHHTXSEIZ0MW_KOYVXBCPH77NS7G
                     Case 6:21-cv-00051-ADA Document 14-1 Filed 03/31/21 Page 1 of 2



                                      UNITED STATES DISTRICT COURT
                                    FOR THE WESTERN DISTRICT OF TEXAS
                                             WACO DIVISION


            BCS SOFTWARE, LLC,                               §
                                                             §
                                   Plaintiff,                §
                                                             §
                    v.                                       §
                                                               Civil Action No. 6:21-CV-00051-ADA
                                                             §
            ZOHO CORPORATION                                 §
                                                             §
                                   Defendant.                §
                                                             §

                              DECLARATION OF SHAILESH KUMAR DAVEY
                      IN SUPPORT OF ZOHO CORPORATION’S MOTION TO TRANSFER


            I, Shailesh Kumar Davey, declare as follows:

                    1.     Zoho Corporation (“Zoho”) is incorporated in California corporation and has its

            headquarters in Pleasanton, California.

                    2.     I am currently employed by Zoho’ parent company, Zoho Corporation Pvt. Ltd. It

            is headquartered in Chennai, India. Zoho Corporation Pvt. Ltd. develops the products Zoho

            sells. This development occurs in India.

                    3.     Zoho Corporation Pvt. Ltd. engineering staff are employed in India, and no

            engineering staff work out of Zoho’s offices in the Western District of Texas.

                    4.     Zoho’s only office in the Western District of Texas is in Austin, where Zoho

            employs 30 people in sales and training roles. All of Zoho’s employees in the Western District of

            Texas work and reside in or around Austin.

                    5.     Zoho has no facilities in Waco and is unaware of any employees in the Waco area.

                    6.     Zoho’s Chief Evangelist, Raju Vegesna, works out of Zoho’s Austin office. Mr.

            Vegesna is knowledgeable regarding the sales, marketing and finances related to the products



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                     Case 6:21-cv-00051-ADA Document 14-1 Filed 03/31/21 Page 2 of 2



            accused of infringement by BCS’ complaint. Mr. Vegesna is also knowledgeable about Zoho

            Virtual Office, a prior Zoho product for which he was the product manager, and Zoho Drive, a

            successor product to Virtual Office.



                    I declare under penalty of perjury under the laws of the United States of American that

            the foregoing statements are true and correct.

                    Executed this ____
                                   31st day of March, 2021 in Chennai, India.




                                                                 _______________________.

                                                                 Shailesh Kumar Davey




                                                             2
